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This Settlement Agreement and Release is made this i day of April, 2017,' between
Oscar Baten and Fernando Baten ["Plaintiffs”] and East 33"[ Street Restaurant Corp. d/b/a
Caliente Cab Co. and Anthony Brasco ["Defendants"].

WHEREAS Plaintiff Oscar Baten alleges that he was employed by Defendants as a
dishwasher and chef at varying times from approximately 2008 to 2016, and Plaintiii`
Fernarldo Baten alleges that he was employed by Defendants to perform various "back of
the house" duties such as cleaner, dishwasher, and food preparer, from 0ctober 2015
through Dctoher 2016; and

WHEREAS Plaintiff Oscar Baten, through his counsel, Samuel & Stein, has filed an
action in the United States District Court, Southern District of New Yorit ["tbe Court”],
under Docket No. 16-cv-54-04, alleging inter olin, violations by defendants of the Fair Labor
Standards Act ["FLSA"], 29 U.S.C. §201, et seq., as well as Violations under the New York
Labor Law ["NYLL"], Article 6, §§ 190 et seq., and Article 19, §§ 650 etseq.

WHEREAS on October 25, 2016, Fernando Baten, by and through counsel, filed an
opt-in consent form with the Court, requesting that he be added as a Plaintiff in the Action;

WHEREAS Defendants deny all of the material allegations asserted by Plaintiffs in
their Cornpiaint and have denied and continue to deny that they have violated any iaw, rule
or regulation or committed any wrong whatsoever against Plaintiffs;

WHEREAS the Parties have exchanged information related to the claims in this
Action, such that they have adequate information to assess the appropriateness of this
Agreement; and

WHEREAS the Parties reached a binding settlement as the result of a settlement
conference before Magistrate lodge james C. Francis on March 1, 2017, and the Parties
desire to memorialize this settlement in a writing and resolve and settle the Action in an
amicable manner Without the expense of further litigation;

NDW, TI-IEREFORE, with the intent to be legally bound hereby, and in consideration
of the mutual covenants and promises herein contained and for other good and valuable
consideration, the sufficiency and receipt of Which the Parties acknowledge the Parties
agree as foilows, subject to Court approval pursuant to applicable provisions of federal,
state and/or local law:

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a. ln full and final settlement of the Action, and in consideration for the release
contained in Paragraph 2 of this Agreement, Defendants, jointly and
severally, shall make a total payment of $45,000 [the "Settlement Sum"], in
installments as set forth in Paragraphs lfb] - 1[f] below.

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b, The amounts payable to each Piaintiff and to Plaintiffs Counsel shall be as set

forth in the Rider attached to this Settlement Agreement.

Payments shall be issued to "Samuel 8a Stein, as Attorneys for Oscar and
Fernando Baten."

Payments due under this Agreement shall be made in five monthly
installments The first installment, of $25,000, shall be made so that it is
received within two [2] business days of the Effective Date, but shall not be
due any earlier than Aprii 24, 2017. The subsequent installments of $5,000
each, shall each be made so that they are received within 30 days of the due
date of the prior installment The specific amounts due to each Plaintiff and
to Samuel & Stein are set forth in the Rider to this Settiement Agreement,
Which is incorporated by reference into this Settiement Agreement.

All payments specified above shall be delivered to Samuel 8c Stein at the
address specified in Paragraph 15, or shall be wired to the Samuel 8a Stein
attorney trust account

All monies due and payable under this Settlement Agreement shall be paid in
the form of guaranteedl certified funds [e.g., certified check, cashier’s check,
or money order], attorney trust account check, or wire transfer. ln the event
that any payment issued by Defendants pursuant to this Paragraph is
nevertheless returned as uncollectable or because of insufficient funds
Defendants shall reimburse Plaintiffs and/or Plaintiffs' counsel for any bank
fees incurred as a result of the returned check[s].

Except as provided above, each Party shall bear the Party's own costs and
fees

lt is expressly understood that no party hereto is entitled to, and shall not
seek, attorneys' fees from the other in connection with this matter except as
expressly set forth herein. lt is further expressly understood that no party
shall be deemed the prevailing party in this matter.

Z.E.elease\

B.

in consideration for the payment and benefits provided for in Paragraph 1 of
this Agreernent, Plaintiffs and their successors assigns heirs executors
agents administrators and any legal and personal representatives and each
of them hereby releases remises, acquits and forever discharges Defendants
and their predecessors successors assigns parents subsidiaries affiliates
officers trustees directors shareholders partners employees agents heirs
administrators executors and attorneys past and present [the "Releasees"]
from any and ali claims demands actions causes of action, debts liabilities
rights contracts obligations duties damages costs of every kind and nature
whatsoever, and by whomever asserted whether at this time known or

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suspected or unknown or unsuspected, anticipated or unanticipated direct
or indirect fixed or contingent, which may presently exist or which may
hereafter become known, relating to any claim regarding unpaid or
improperly paid wages including claims of [a_`) violations of the minimum
wage or overtime provisions of the Fair Labor Standards Act; [b] violations of
the minimum wage and overtime provisions of the New York Labor Law; [c]
defendantsl failure to pay any wages owed to plaintiffs (d) the "spread of
hours" provisions of the New York Labor Law and applicable Wage Orders;
[e] the wage notice and wage statement provisions of the New York Wage
Theft Prevention Act; and/or (f) any and all claims for violation of any
Written or unwritten contract, agreement, understanding policy, benefit,
retirement or pension plan, severance plan, or covenant of any kind, or
failure to pay wages bonuses employee benefits other compensation
attorneys fees damages or any other remunerati on.

b. Plaintiffs hereby expressly consent that the release contained in Paragraph
Z[a] shall be given full force and effect according to each and all of its express
terms and provisions Plaintiffs hereby expressly acknowledge that they
have been advised to review this Agreement and the release that it contains
with an attorney, that they understand and acknowledge the significance and
consequences of said release, and that they understand and acknowledge
that Without such provision, Defendants would not have entered into this
Agreement or provided Plaintiffs With the payments and benefits described

in Paragraph l.

c. This release shall not affect or limit: [a] any claims that may arise after the
date Plaintiffs sign this Agreement; [b] Plaintiffs’ right to enforce the terms of
this Agreement; or [c] any other claims that, under controlling lawr may not
be released by private settlementl

d. The Parties acknowledge that by entering into this Agreement they are
agreeing to waive any and all appeals that they may have or will have with
respect to this Action.

3. §t!'gglag'og of !Qis!gj§sg!

Following the execution of this Agreement by each of the Parties, the Parties agree
that their counsel will present this Agreement, along with the Proposed Order of
Dismissal with Prejudice (the "Order"] attached hereto as Exllibit A, to the Court for
review and approval. Counsel for Parties shall cooperate and take all necessary
steps to arrange for the Court's approval of the Agreement and entry of the attached
Order. The terms of the Agreement will become effective on the date the Court
provides notice to the Parties [via ECF notification or other means] of the Court's
approval and execution of the Order {the "Effective Date"].

4.

B.

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The Parties agree that this Agreement is not and shall not be construed as an
admission by any Party of any liability or misconduct, or a violation by Plaintiffs of
any of l)efendants’ policies or procedures or of any federal, state or local statute,
regulation or ordinance Nor shall anything in this Settlement Agreement be
construed as an admission of the absence of liability of any Party. Moreover, neither
this Agreement nor anything contained in it shall be construed to be or shall be
admissible in any proceeding as evidence of any admission by Defendants of any
violation of any policies or procedures or of any federal, state or local statute,
regulation or ordinance. This Agreement may be introduced however, in any
proceeding to enforce the Agreementl

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Upon the merger or consolidation of Defendant Corporation into or with another
entity, this Agreement and Release shall bind and inure to the benefit of both
Defendant Corporation and the acquiring succeeding or surviving entities as the
case may be.

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This Agreement shall be governed by, and construed in accordance with, the laws of
the State of New York without reference to its conflicts of laws principles The
Parties consent to the sole jurisdiction of the United States District Court for the
Southern District of New York for any litigation arising out of the terms of this
Agreement or the Parties’ performance thereunder; in the event that this court lacks
or declines jurisdiction over any such litigation, the Parties consent to the sole
jurisdiction of the courts of the state of New ‘i"ork having jurisdiction over New Yorl<

County.

 

This Agreement may be executed using facsimile signatures and in counterparts
with the same effect as if the signatures were original and made on the same
instrument A copy of a Party's signature on this Agreement shall be acceptable in
any action against that Party to enforce this Agreement Facsimile or electronic
copies of this Agreement shall be deemed for all purposes to have the same force
and effect as the original hereof.

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a. Plaintiffs agree not to make any false statement about Defendants or any of
the Releasees that is derogatory, disparaging or defamatory, whether by
electronic, written or oral means to any person [including, but not limited toJ
the press or other media, or on social media websites].

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b. Defendants agree that they shall not, directly or indirectly, in public or in
private, deprecate, impugn, dlsparage, or make any remarks that would or
could be construed to defame Plaintiffs. Should Defendants be contacted
regarding an employment reference for Plaintiffs, Defendant Brasco shall
provide a neutral reference, confirming dates of employment last wage rate,
and job title, and shall not disclose the existence of the Acl;ion. lf Defendants
are specifically asked about the Action as part of a request for an
employment reference, Defendant Brasco Will state solely that the matter has
been resolved.

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a. 'l`he Parties agree that the Court will retain jurisdiction of the Action for the
sole purpose of enforcing the terms of this Settlement Agreement

h. In the event of a breach of any provision of this AgreementJ the non-
breaching Party shall provide Written notice to the breaching Farty as
provided for in Paragraph 15, and the breaching Party shall have seven [7]
days from receipt of the written notice to cure the aforementioned breach
[the “cure period"]. ln the event a material breach of this Agreement still
exists after the cure period has expired, the non-breaching Party shall be
entitled to reasonable costs, attorneys' fees, and disbursements required in
order to enforce this Agreement in addition to any other relief a court deems
just and proper.

c. Failure to make scheduled payments within the cure period shall constitute a
material breach and shall cause all remaining compensation owed by
Defendants to Plaintiffs and Plaintiffs’ Counsel under this Agreement to
become immediately due and payable, and shall entitle Plaintiffs to apply for
a default judgment before the United States District Court for the Southern
District of NeW York - or any other court of competent jurisdiction - against
any and all Defendants without further notice for the accelerated amount of
200% of the Settlement Sum, less any amounts already paid, along with
reasonable attorneys' fees incurred in entering and enforcing the judgment
and statutory interest and costs, to be secured by an affidavit of confession of
judgment as specified in Paragraph Q[d]. This amount is not a penalty, but
reflects the actual and statutory damages and costs Plaintiffs believe they
could recover at trial.

d. Defendants agree to execute an affidavit of judgment by confession in
conformance with C.P.I...R. § 3218[a], a copy of which is attached as Exhibit B.
The aflidavit shall be held by Plaintiffs' counsel in escrow and may only be
released back to Defendants upon written confirmation that the entire
settlement sum has been paid. Flaintiffs are authorized to file the confession
of judgment should Defendants be in material breach of this Agreement
Plaintiffs agree that once all payments set forth in Paragraph 1 of this

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Agreement have been tendered, Plaintiffs will destroy the executed affidavit
of judgment by confession and all copies thereof and provide immediate
written notice of same to Defendants

e. Except as otherwise provided herein, the prevailing party in any litigation
arising out of the terms of this Agreement or the Parties' performance
thereunder shall be entitled to reasonable attorneys' fees, disbursements
and costs, in addition to any other relief a Court deems just and proper.

10. No Retaliatiog

11.

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Consistent with their legal obligations Defendants will not retaliate against
Plaintiffs for participating in the Action and/ or settlement

Entimagiwnent

The Parties acknowledge and agree that this Agreement is intended to memorialize
an oral agreement reached at a Settlement Conference before Magistrate judge
Francis on March 1, 2017. That oral agreement and this Agreement, combined,
reflect the entire agreement between the Partles and fully supersede any and all
prior or contemporaneous agreements and understandings between the Parties. In
the event of any conflict between the terms of the oral agreement and this
Agreement, this Agreement shall take precedencel No other promises or
agreements shall be binding or shall modify this Agreement unless signed by
Plaintiffs and an authorized representative of Defendants hereto,l specifically
referring to this Agreement and the modification or amending of it. Plaintiffs

acknowledge that Defendants have made no promises to them other than those
contained in the oral agreement and this Agreement

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No delay or omission by any Party in exercising any rights under this Agreement
shall operate as a waiver of that or any other right. A Waiver or consent given by a
Party on one occasion shall be effective only in that instance and shall not be
construed as a bar or waiver of any right on any other occasion. No provision of this
Agreement may be Waived except by a written instrument signed by the Party
waiving compliance

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a. §_Qns_t_i;ugL Each of the Parties has participated in negotiating and drafting
this Settieinent Agreement after consulting with, and/or having had the
opportunity to consult with, legal counsel. Accordingiy, no Party shall
maintain that the language of this Settlement Agreement shall be construed
in any way by reason of another Party’s putative role in drafting any of these
documents Ambiguities shall not be construed against any Party based on
any claim about the identity of the drafter of the languagel

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b.

C.

d.

S_e\;ej;a_bili_ty. In the event that any provision of this Agreement is held by any
court of competent jurisdiction to be illegal or invalidl the validity of the
remaining provisions shall not be affected; and, the illegal or invalid
provisions shall be reformed to the extent possible to be consistent with the
other terms of this Agreement; and, if such provisions cannot be so reformed,
they shall not be deemed to be a part of this Agreement lt is the intention of
the Parties that if any term or provision of this Agreement is capable of two
constructionsl one of which would render the term or provision void and the
other of which would render the term or provision valid, then the term or
provision shall have the meaning that renders it valid.

Section Headingg. Section headings are used herein for reference only and do
not affect the meaning of any provision of this Agreement

Begita_ls. The recitals set forth herein are part of the contractual undertaking
of the Parties and shall not be regarded as surplusage

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El.

Each of the undersigned warrants that he or she is legally competent and
duly authorized by the respective Parties to execute this Settiement
Agreement on behalf of such Party.

Each Party hereby warrants, representsl covenants and acknowledges that
he/she/it has been represented by independent legal counsel in connection
with the review, negotiation, and execution of this Settlement Agreement
Each Party acknowledges that he/she/it has voluntarily, and upon the advice
and approval of his/her/its legal counsel in this matter, read and understood
this Settlement Agreement and all of its terms and conditions and agrees to
each and every term and condition herein.

Plaintiffs represent that, other than the Action, Plaintiffs have not
commenced or asserted any lawsuitr administrative charge or complaint
arbitration, claim or other legal proceeding against any or all of the Releasees
in any forum, judicial, quasi-judicial or administrative that is designed to
remedy or seek redress for any right or rights waived and/or released by this
Agreement

Plaintiffs certify that they are not a party to any bankruptcy, lien, creditor-
debtor or other proceedings which would impair their right or ability to
waive the claims in this Action.

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15. Ngticeg

Any provision of this Agreement that calls for notice to be sent to Plaintiffs or
Defendants shall be sent via email, messenger, overnight mail, or first class maii, and
shall be directed as follows, or to any other address designated in writing:

P_laintiffs: Defendants

David Stein, Esq. Paul P. Rooney, Esq

Samuel 81 Stein Ellenoff Grossman & Schole LLP

38 West 32"d Street, Suite 1110 1345 Avenue of the Americas ~ 11th Floor
New York, NY 10001 New York, NY 10105
dstein@samuelandstein.com proon ey@egsllp.com

All notices, requests, consents and other communications hereunder shall be
deemed to have been received either [i] if by hand, at the time of the delivery
thereof to the receiving Party at the address of such Party’s counsel set forth aboveJ
(li] if made by facsimile transmission or email, at the time that receipt thereof has
been acknowledged by electronic confirmation or otherwise, (iii] if sent by
overnight courier, on the next business day following the day such notice is
delivered to the courier service, or [iv] if sent by first class, registered or certified
mail, on the Sth business day following the clay such mailing is made. No other
methods of delivery are valid other than those expressly set forth above.

[REST OF PAGEI INTENTIONALLY LEFT BLANK;
SIGNATURE PAGE IMMEDIATELY FOLLOWS]

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16. tur

TI'IE PAR.TIES ACKNOWLEDGE THAT THEY HAVE CAREFULLY READ THIS
AGREEMENT, UNDERSTAND I'I', AND ARE VULUNTARILY ENTER]NG INTO IT OF
THEIR OWN' FREE WILL, WITHDU"I` DURESS GR COERCI()N, AF'I`ER DUE
CONSIDERATION OF ITS TERMS AND CONDIT[ONS.

Uscar Baten fli'erfi‘an¢_:lf)v Bat
Date: ` ") "' g Date: i`!HLEZZL/§

East 33"d Street Restaurant Corp. d/b/a
Caliente Cab Co. and Anthony Brasco

 

 

 

By: [print]
Date:

 

Anthony Brasco
Date:

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16- signatures

THE PARTIES ACKNOWLEDGE THAT THEY HAVE CAREFULLY READ 'I’l-llS
AGREEMENT, UNDERSTAND IT, AND ARE VOLUNTARILY ENTERING lNTO I’I' OF
THEIR OWN FREE WILI.., WITHOUT DURESS OR CDERCION, AFTER DUE
CONS]DERATIDN OF ITS TERMS AND CONDITIONS.

 

 

Oscar Baten Fernando Baten
Date: Date:

East 33"1 Street Restaurant Corp. d/b/a
Caliente Cab Co. and Anthony Brasco

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Antho y rasco

Date: §§,':L\§, 2

 

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Compensation to plaintiffs shall be broken down as follows:

 

 

 

 

Payments
Payment Equal
Within 7 days Monthly
Payee Total of Approval lnstallments
Samuel & Stein $15,797.47 $8,776.37 $1,755.27
Baten, Oscar $22,639.73 $12,577.63 $2,515.53
Baten, Fernando $6,562.80 $3,646.00 $729.20

 

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EXHIBIT A

UNITED STATES DlSTRlCT COURT
SOU'I`HBRN DIS'I‘RICT OF NEW YORK

Dscar Baten, on behalf of himself and ali
other persons similarly situated,

remain pocket No. 16-¢v»s404
[lCF]

_vsl_

East 33rd Street Restaurant Corp. d/b/a
Caliente Cab Co. and Anthony Brasco,

Defendants.

 

 

IT 15 HEREBY STIPULATED AND AGREED, by and between counsel for Plaintiffs
Oscar Baten and Fernanclo Baten ["Plaintiffs"), and Defendants East 33rd Street Restaurant
Corp. d/b/a Caliente Cab Co. and Anthouy Brasco ("Defendants"], that all of Plaintiffs'
claims in the Complaint in the above-captioned action are dismissed, M'_th_p_r_ehnil_i§e.
pursuant to Rule 41[a] [2] of the Federal Rules of Civfl Procedure. The Parties further agree
that the Court will retain jurisdiction of this matter for the sole purpose of enforcing the
Settlement Agreement Each Party shall bear his/her/ its own costs and attorneys fees.

Dated: April“ 2017

SAMUE ELLEN FF GROSSMAN 81 SCHOLE LLP

 
 
    

    

By:

David Stein Paul P. Rooney

38 West 32“d Street, Suite 1110 1345 Avenue ofthe Americas - 1*'1 Floor
New York, NeW York 10001 New ‘fork, NY 10105

[212] 563-»9884 [212] 370~»1300

Attorneys for Plaintiffs Attorneys for Defendants

SD ORIJERED:

 

Hon. james C. Francis, U.S.M.j.

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UNI'I'ED STATES DISTRICT CUURT
SOUTHERN DISTRICT DF NEW YORI{

fiscar Baten. on behalf of himself and all
other persons Similarly situated,

Plaintlff. DDCKET NO. 16-cv-5¢l-04
UCF]
- vs. -
AFFIDAVIT OF CONFESSION OF
East 33rd Street Restaurant Corp. d/b/a jUDGMENT

Caliente Cab Co. and Anthony Brasco,

Defendants

 

 

State of New York ]
) ss:
County of New York ]

Anthony Brasco, personally and as an officer of Defendant East 33"¢l Street
Restaurant Corp. dfb/a Caliente Cab Co., being duly sworn, deposes and states as
follows:

1. East 33\'*l Street Restaurant Corp. principal place of business Was located
at 488 Thlrd Aven ue, New York, New York.

2. This Confession of judgment is for a debt justly due and owing to
Plaintiffs for the settlement of the matters in the United States District Court. Southern
District of New York [Docket No.: ld-CV-5404], entitled Oscur Baten et ol. v. East 33""
Street Restnurunt Corp. d/b/o Cni'ien te Cab Co. and An thony Brnsco.

3. Defendants jointly and severally hereby confess judgment in favor of
Plaintiffs and authorize entry thereof in the amount of$90,000.00, less payments made
towards the indebtedness described in paragraph “2." plus reasonable attorneys' fees
incurred in entering and enforcing the judgmentl and statutory interest and costs.

4. This affidavit of confession of judgment may be filed in the United States
District Court for the Southern District of New York or the Supreme Court ofthe State of
New York in and for Richmond County, New York.

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5. This confession of judgment is not for the purpose of securing Plaintiffs
against a contingent liability.

Cj‘_~tsust_§tz___,`

Defendant East 33“1 Stre et Restaurant

Corp.
By: Anthony Brasco

        

 

Sworn to b¢r,-- mo this norma Bal .

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Antliony Brasco, ndlvidua|ly

sworn to before me this

 
  

day ril, 2017

   

Donna Balrd
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Commission Explres gnBaJu|y-B»BN 205
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